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 6   Attorney for Clayton Mark Hall

 7                               UNITED STATES DISTRICT COURT

 8                                     DISTRICT OF NEVADA

 9   UNITED STATES OF AMERICA,                              Case No. 2:19-mj-00744-BNW

10                  Plaintiff,                              STIPULATION THAT
                                                            DEFENDANDANT HAS COMPLIED
11          v.
                                                            WITH HIS PLEA AGREEMENT
12   CLAYTON MARK HALL,                                     AND TO CLOSE CASE 1

13                  Defendant.

14
15          IT IS HEREBY STIPULATED AND AGREED, by and between United States
16   Attorney Nicholas A. Trutanich and Special Assistant United States Attorney Rachel L. Kent,
17   counsel for the United States of America, and Federal Public Defender Rene L. Valladares
18   and Assistant Federal Defender Sylvia Irvin, counsel for Clayton Mark Hall, that Mr. Hall has
19   complied with the terms of his plea agreement, that he be allowed to enter a plea of guilty to
20   an amended count of negligent operation of a vessel, and that his case be closed.
21          This Stipulation is entered into for the following reasons:
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25             This stipulation is filed out of time and defense counsel respectfully asks the Court to
     accept the late-filing. On January 30, 2020, this Court ordered that counsel file a status report
26   as to Mr. Hall’s compliance by July 15, 2020. Through no fault of Mr. Hall, a status report was
     not filed although he had complied with his plea agreement terms as explained more fully in
     this filing.
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 1             1.   Mr. Hall was charged by complaint with three counts, including operating a
 2   vessel while under the influence of alcohol in violation of 36 CFR § 3.10(a)(1), a Class B
 3   misdemeanor (Count One). ECF No. 1.
 4             2.   On January 15, 2019, Mr. Hall pled guilty to Count One pursuant to a plea
 5   agreement with the Government. See ECF No. 12 (minute order). In accordance with that plea
 6   agreement, this Court sentenced Mr. Hall to 12 months’ unsupervised probation with the
 7   following special conditions:
 8                  a. complete DUI School with the Victim Impact Panel;
 9                  b. complete a NASBLA Boating Safety Course;
10                  c. pay fines of $510.00;
11                  d. be restricted from the Lake Mead National Recreation area for 6 months
12                  e. complete 64 hours of community service; and
13                  f. have no adverse contact with law enforcement.
14   See id.
15             3.   In exchange for his plea of guilty, the Government agreed to dismiss all
16   remaining counts and further agreed that should Mr. Hall complete all of the sentencing
17   obligations within six months of sentencing, the Court would permit Mr. Hall to withdraw his
18   previously entered guilty plea and to enter a guilty plea to an Amended Complaint of one
19   count of negligent operation of a vessel. See id.
20             4.   Mr. Hall successfully completed all but one of his special conditions within the
21   six-month time period, and defense counsel provided that documentation to Government
22   counsel via email. Mr. Hall was able to complete 17 hours of community service but was not
23   able to complete all of his hours due to the Covid-19 pandemic. He had been volunteering at
24   Three Square Food Bank until they were no longer able to accept volunteers. In light of the
25   unusual circumstance of the Covid-19 pandemic, Government counsel has agreed that Mr.
26   Hall has completed this special condition.
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 1          5.      The Government is satisfied that Mr. Hall complied with the terms of his plea
 2   agreement and that he be permitted to have his guilty plea converted to an amended count of
 3   negligent operation of a vessel.
 4          6.      Because Mr. Hall has successfully completed the terms of his plea agreement,
 5   both counsel ask the Court to close Mr. Hall’s case.
 6          DATED this 14th day of October, 2020.
 7
 8    RENE L. VALLADARES                             NICHOLAS A. TRUTANICH
      Federal Public Defender                        United States Attorney
 9
      By Sylvia A. Irvin                             By Rachel L. Kent
10    SYLVIA IRVIN                                   RACHEL L. KENT
      Assistant Federal Public Defender              Special Assistant United States Attorney
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 1                               UNITED STATES DISTRICT COURT
 2                                   DISTRICT OF NEVADA
 3
     UNITED STATES OF AMERICA,                            Case No. 2:19-mj-00744-BNW
 4
                    Plaintiff,                            ORDER
 5
            v.
 6
     CLAYTON MARK HALL,
 7
                    Defendants.
 8
 9
10          Based on the Stipulation of counsel and good cause appearing,
11          IT IS THEREFORE ORDERED:
12          1.      The defendant’s guilty plea is converted to an amended count of negligent
13   operation of a vessel; and
14          2.      In light of the defendant successfully completing the terms of his plea
15   agreement, the defendant’s case is closed.
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17          DATED this 16th
                       ____ day of October, 2020.
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20                                                UNITED STATES MAGISTRATE JUDGE

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